Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.946 Filed 01/31/22 Page 1 of 9
                                                                  Page 1 of 9




           Promotions Committee
   Wayne State University School of Medicine




{00078042 1 }
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.947 Filed 01/31/22 Page 2 of 9
                                                                  Page 2 of 9



Table of Contents

Section 1.0     By-Laws of the Faculty Senate Governing the              ..Page 3

Section 2.0     Charge of Promotions                                ......Page 4

Section 3.0     Role of Promotions                             .        ....Page 4

Section 4.0     Membership of Promotions                                 .Page 5

Section 5.0 Promotion Committee-Due Process                        ..      Page 7
             5.1: Potential Actions
             5.2: Hearings
             5.3: Dismissal
             5.4: Promotion Committee Dismissals
             5.5: Administrative Academic Dismissals
             5.6: Appealing Promotions Committee Decisions




{00078042 1 }
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.948 Filed 01/31/22 Page 3 of 9
                                                                           Page 3 of 9
      Section 1.0: By-Laws of the Faculty Senate Governing the Standing Committees

The following is an excerpt from the by-laws of the Faculty Senate summarizing the role of the
Standing Committees of the Faculty Senate, including the Promotions Committee.


                                     Article IV. Committees


SECTION II. Standing Committees:

These committees will be the following: Faculty Information Technology, Curriculum, Graduate
Affairs, Library, Student Promotions, Budget Advisory, and Research Development. Members of
each committee will be appointed by the President of the Senate with the advice and consent of the
Executive Committee. Each committee shall develop a set of operating procedures, subject to
approval by the Executive Committee, which will govern its activities. The Admissions Committee
serves as a joint administrative committee. The Executive committee makes recommendations to
the Dean for this committee.




{00078042 1 }
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.949 Filed 01/31/22 Page 4 of 9
                                                                   Page 4 of 9
                   Section 2.0: Charge of the Promotions Committee

 In accordance with LCME Element 9.9 (Student Advancement and Appeal Process),
 the Promotions Committee is the institutional entity that ensures that the medical education
 program has a fair and formal process for taking any action that may affect the status of a
 medical student, including timely notice of the impending action, disclosure of the evidence on
 which the action would be based, an opportunity for the medical student to respond, and an
 opportunity to appeal any adverse decision related to advancement, graduation, or dismissal.
 Its authority originates by delegated powers from the School of Medicine Faculty Executive
 Committee (by-laws of the Faculty: Article IV. Committees, Section II. Standing Committees ).

 The Promotions Committee is the final decision-making entity at the WSUSOM with regard to
 the promotions and graduation process and has the responsibility of determining the student's
 fitness and suitability for the study and practice of medicine. The medical school has the
 responsibility to assure that its graduates possess the knowledge, skills, attitudes, and behavior
 patterns that will enable them to function satisfactorily as licensed physicians. The Promotions
 Committee makes decisions relative to the retention and promotion of students and determines
 whether a student is making satisfactory academic progress. It also has the responsibility of
 assuring that due process and the rules and policies of the Medical School are followed.



                          Section 3.0: Role of the Promotions Committee

         To develop a set of operating procedures, subject to approval by the Executive Committee,
         which will govern its activities (by-laws of the Faculty: Article 4, Section II).
         Certify the promotion of students who have met all of the promotional requirements of a
         given year.
         Determine those students whose overall performance merits awarding comprehensive year-
         end honors.
         Determine the disposition of students who fail to meet the requirements for promotion and
         are found not to be making Satisfactory Academic Progress.
         Determine the disposition of students whose behavior is inconsistent with the School's
         professional standards, including hearing appeals of decisions by the Professionalism
         Committee.
         To make recommendations and to establish requirements relative to remediating
         unsatisfactory student performance and/or behaviors




{00078042 1 }
   Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.950 Filed 01/31/22 Page 5 of 9
                                                                       Page 5 of 11



                            Section 4.0: Membership of the Promotions Committee

The Promotions Committee is composed of eight (8) appointed voting members.

Chair
         *The Chair of the Promotions Committee is chaired by the Vice Dean for Medical Education.

Members
         Four (4) voting faculty members are
         the Faculty Senate.
         Four (4) voting Department Chairs are nominated from the Council of Department Chairs.
         **Four (4) students from each class and four (4) additional students from each class as alternates are
         appointed by the WSUSOM Student Senate.
         Ex-officio (non-voting) members appointed by the Chair, Vice Dean for Medical Education:
                     Dean of Graduate Medical Education
                     Assistant Dean, Compliance and Continuous Quality Improvement
                     Associate Dean, Student Affairs
                     Assistant Dean, Basic Science
                     Registrar, Records and Registration
                     Associate Director, Records and Registration
                     Assistant Dean, Clinical Science

Additional administrative and counseling personnel participate in the discussion, but do not have formal voting
rights.

Term limits:
Faculty members shall serve a three year term. Student members serve for three years.

Quorum
If the Promotions Committee Chair cannot be present, he/she may appoint a designee to take his/her place for
any scheduled meeting. A quorum of 5 of the 8 faculty/administrator voting members is necessary for a formal
vote. A majority vote is necessary to approve a motion.

Voting
A simple majority vote is necessary to approve any motion by the Promotions Committee.

*The Chair is a non-voting member unless there is a tie. In the case of a tie vote, the Chair can exercise his/her
option of either breaking the tie, reopening the case for further deliberation, or tabling the vote if further
information is desired by the voting committee members.

**Students votes are advisory votes only. If an appointed student member for a class is not present, the
alternate from the respective class may cast an advisory vote in his/her absence.
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.951 Filed 01/31/22 Page 6 of 9
                                                                    Page 6 of 11



                                 Members
                            Promotions Committee
                  Chair
                  Richard Baker, MD
                  Recorder
                  Vickie Muhammad
                  Department Chairs (Voting Members)
                  Jian-Ping Jin, MD, Physiology
                  Mark Juzych, MD, Ophthalmology
                  Herman Gray, MD, Pediatrics (DMC)
                  Wael Zakr, MD, Pathology
                  Faculty Senate Appointees (Voting Members)
                  Eileen Hug, DO, Pediatrics - Henry Ford Health System
                  Rodney Braun, MD, Anatomy and Cell Biology
                  Avril Holt, MD, Anatomy and Cell Biology
                  Eric Ayers, MD, Internal Medicine/PEDS
                  Eva Waineo, MD, Psychiatry
                  Student Representatives (Voting Members)
                  Sydney Daviskba, Yr. 1
                  Elana Flobe, Yr. 2
                  Paul Zlojutro, Yr. 3
                  Brian Sullivan, Yr. 4
                  Alt. Student Representatives (Non-voting Members)
                  Laura Donohue, Yr. 1
                  Aashna Sahi, Yr. 2
                  John Shanley, Yr. 3
                  Vacant, Yr. 4
                  Ex-officio Non-Voting Members
                  Jason Booza, PHD, Assistant Dean, Continuous Quality
                  Margit Chadwell, MD, Associate Dean, Student Affairs
                  Christopher Steffes, MD, Assistant Dean, Clinical Science
                  Matt Jackson, MD, Assistant Dean, Basic Science
                  JaEsta Jones, Registrar, Records and Registration
                  Vacant, Associate Director, Records and Registration
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.952 Filed 01/31/22 Page 7 of 9

                                                                                             Page 7 of 9


                        Section 5.0: Promotion Committee Due Process


5.1 Potential Actions

The options available to the Promotions Committee for disposition of a particular student prior to
promotion to the next academic year include, but are not limited to the following:

               Require a student to successfully complete all non-examination deficiencies
               Allow a student to take re-examination in a failed course(s)
               Require a student to repeat selected failed courses or clerkships
               Require a student to appear before the Promotions Committee for a hearing
               Suspend a student and place him/her on an administrative leave of absence
               pending further investigation
               Dismiss a student from medical school

5.2 Hearings

Students who face the possibility of dismissal will be invited to a hearing with the Promotions
Committee to ensure that all relevant data is available when the Committee makes its decision.
Students facing Administrative Academic Dismissals (discussed in Section 5.5 below) are not
included in the Hearing process. Hearings are for students who face the possibility of dismissal
due to reasons other than for Administrative Academic Dismissals Hearings are also provided
where a student is appealing a decision of the Professionalism Committee. The hearing process is
as follows:

               Students who are called before the Promotions Committee are requested to submit
               a statement to their counselor and records and registration. The statement should
               summarize for the Committee whatever information the student wishes the
               Committee to consider, supported by facts, in light of the reason(s) the student is
               called before the Committee for a hearing.
               Students who are appealing a decision of the Professionalism Committee, are
               requested to submit an appeal letter to their counselor within 10 days of receipt of
               the decision of the Professionalism Committee and a copy to records and
               registration. This appeal letter should state the main reason for the appeal,
               supported by facts.
               A student can bring a support person to a hearing. If that support person is an
               attorney, the Vice Dean for Medical Education or his/her designee must be
               notified 10 days prior to the hearing.
               Recording are not allowed.
               The student will be introduced to the voting members of the committee.
               Members of the Committee may ask questions of the student.
               The student is permitted to summarize his/her situation.
               Deliberations are confidential, are based upon the academic decision making of
               the Committee, and occur without the student being present.
               The Promotions Committee can decide to postpone action pending receipt of
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.953 Filed 01/31/22 Page 8 of 9

                                                                                              Page 8 of 9

                additional information.
                An official letter of the decision will be provided to the student.

In the process of making decisions regarding students, the Promotions Committee considers the


                Pre-entry data and medical school transcript information
                Performance data from the current academic year
                Information regarding any student issues which appear to have impaired academic
                or professional performance


Section 5.0: Promotion Committee Due Process (continued)

5.3 Dismissal

Dismissal is a permanent, involuntary removal of a student from medical school. Dismissals
occur when it has been determined that a student's overall academic performance and/or
professional behavior have fallen below the School's standards, or the student has violated any
medical school policy. Dismissals can result either by action of the Promotions Committee or
administratively by action of the Associate Dean for Undergraduate Education, pursuant to
Section 5.5 below, at the point where a student fails to meet specified academic benchmarks.

5.4 Promotion Committee Dismissals

Students facing the possibility of dismissal by the Promotions Committee will be invited to a
hearing before the Committee. Students can be dismissed after deliberation by the full
Promotions Committee. Dismissed students will be notified by a letter from the Chair of the
Promotions Committee (the Vice Dean for Medical Education). Please refer to the Hearings
section above and the Promotion and Graduation section for more detail.

5.5 Administrative Academic Dismissals

Students can be dismissed administratively, by the Associate Dean for Undergraduate Medical
Education, for any of the following reasons:

                Failure to pass USMLE Step I, 2CK, or 2CS by stated deadlines
                Failure to achieve a grade of Satisfactory for a repeated Year I or Year 2 course
                Failure to begin and/or complete repeated coursework as scheduled
                Failure to pass an NBME subject examination on a third attempt
                Two clinical failures of Year 3 clerkships /Year 4 required courses, or a 2nd
                clinical failure of a single clerkship or Year 4 required course

Students administratively dismissed by the Associate Dean for Undergraduate Medical
Education for academic reasons can appeal to the Vice Dean for Medical Education. Students
deciding to appeal must have a full appeal letter submitted to the Office of Records and
Case 2:20-cv-11718-GAD-DRG ECF No. 43-4, PageID.954 Filed 01/31/22 Page 9 of 9

                                                                                              Page 9 of 9

Registration within 10 business days of the dismissal notification. The Vice Dean for Medical
Education, as the Chair of the Promotions Committee, is the final arbiter of administrative
dismissals for the School of Medicine. Students deciding to appeal this decision to the
University must submit a written request to the Wayne State University Office of the Provost.
Full instructions are located at: https://provost.wayne.edu/academic-policy.

A student who is administratively dismissed due to failing a repeated course, failing an NBME
exam for the third time or a second clinical failure cannot appeal this final grade to the Provost
prior to the School of Medicine administrative dismissal procedures. The appeal process for
administrative dismissals supersedes the normal grade appeal policy contained elsewhere in this
manual, as this final failing grade directly leads to the administrative dismissal. A student can,
however, in this special circumstance, include a grade appeal as a part of his/her appeal of the
dismissal to the Vice Dean for Medical Education (submitted to the Office of Records and
                                                                          the Provost (as a part of
the dismissal appeal process) if the appeal of the grade/resulting dismissal is denied by the Vice
Dean for Medical Education. Full instructions on appealing to the Provost are located at:
https://provost.wayne.edu/academic-policy.

5.6 Appealing Promotions Committee Decisions

Students have the right to appeal decisions of the Promotions Committee. In order to appeal a
decision the following must occur:

        A student must present a written statement to the Chair of the Promotions Committee
        within 10 business days from the time the decision has been communicated to the
        student.
        The appeal letter must clearly state the specific nature of the appeal.
        Appeals must contain new information not originally brought before the Committee in
        order for the appeal to be considered by the Chair of the Promotions Committee.
        The lack of new information in the appeal will result in the denial of the appeal by the
        Chair without taking the appeal to the full Committee.
        If the appeal is denied, the student can appeal the decision to the Provost of the
        University by writing a letter to the Provost, within 30 calendar day of the postmark of
                                    and by providing a copy to the Dean of the Medical School.
        The procedures for appeals to the Provost can be found at:
        https://provost.wayne.edu/academic-policy.
